      Case 1:09-cr-10166-MLW Document 294 Filed 02/04/11 Page 1 of 10



                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
                         )
     v.                  )                       Cr. No. 09-10166-MLW
                         )
SALVATORE F. DIMASI,     )
JOSEPH P. LALLY, JR.,    )
RICHARD W. MCDONOUGH,    )
and RICHARD D. VITALE,   )
     Defendants.         )


                            MEMORANDUM AND ORDER

WOLF, D.J.                                                    February 4, 2011

      For the reasons described in detail in court on January 26 and

28, 2011, and summarized below, it is hereby ORDERED that:

      1.   The government's Motion to Amend Superseding Indictment

(Docket No. 264) is ALLOWED.           The amendments to paragraphs 9, 10,

16, 17, 102, and 106 are permissible because they narrow the

Superseding Indictment.       See United States v. Celestin, 612 F.3d

14, 25 (1st Cir. 2010) (quoting United States v. Miller, 471 U.S.

130, 138, 146 (1985)). The amendments remove language that charged

conflict of interest or state fiduciary duty theories of honest

services fraud liability, and leave in place a previously properly

charged theory of honest services fraud based on quid pro quo

bribery. See United States v. Urciuoli (Urciuoli II), 613 F.3d 11,

18 (1st Cir.), cert. denied, 131 S. Ct. 612 (2010).                In light of

deletions made to paragraph 9, the government is permitted to add

the   proposed   language    "as   a    matter   of   form"   to   ensure   that

paragraph 9 as amended is intelligible.               See Russell v. United
      Case 1:09-cr-10166-MLW Document 294 Filed 02/04/11 Page 2 of 10



States, 369 U.S. 749, 770 (1962).

      2. Defendants' Motion to Strike Overt Act 58 (Docket No. 246-

1) is DENIED.    Original Overt Act 58, which is now Overt Act 50 in

the Amended Superseding Indictment, alleges that defendant Richard

Vitale extended to defendant Salvatore DiMasi a $250,000 line of

credit after Vitale joined the alleged conspiracy and that the loan

was made in furtherance of the conspiracy.               An overt act does not

need to be a crime so long as it is "knowingly done in furtherance

of some object or purpose of the conspiracy."                  United States v.

Richardson, 14 F.3d 666, 670 (1st Cir. 1994); see United States v.

Medina, 761 F.2d 12, 15 (1st Cir. 1985).                Because the allegation

that the loan constituted an overt act is neither irrelevant nor

unfairly prejudicial, the request to strike it is not meritorious.

Fed. R. Cr. P. 7(d); see United States v. Hedgepeth, 434 F.3d 609,

612 (3d Cir. 2006).       To the extent that Vitale and DiMasi assert

that the government will not be able to offer sufficient evidence

that the loan was made in furtherance of the alleged conspiracy,

the   issue   must   be   decided    at       trial,   based   on   the   evidence

presented, before the case is submitted to the jury for decision.

See United States v. Williams, 809 F.2d 75, 80-81 (1st Cir. 1986).

      3.   Defendants' Motion to Strike Paragraph 12(c) and Dismiss

Both the Conspiracy to Violate 18 U.S.C. §1951 Object of Count One

and Count Nine Alleging a Substantive Violation of 18 U.S.C. §1951

(Docket No. 284) is DENIED.         An indictment is sufficient if, read


                                          2
      Case 1:09-cr-10166-MLW Document 294 Filed 02/04/11 Page 3 of 10



as a whole, it states the elements of the crimes charged, and

includes sufficient facts to enable a defendant to defend against

the charges and to enable him to plead double jeopardy in bar of

future prosecutions.    See United States v. Wiffen, 121 F.3d 18, 21

(1st Cir. 1997); United States v. Tomasetta, 429 F.2d 978, 979-80

(1st Cir. 1970).    By alleging that defendants arranged payments to

DiMasi in return for the exercise of his official powers as Speaker

of   the   Massachusetts   House   of   Representatives,      the   Amended

Superseding   Indictment    sufficiently     alleges   both   substantive

extortion and conspiracy to extort charges under 18 U.S.C. §1951

and 18 U.S.C. §371.    See Evans v. United States, 504 U.S. 255, 266

(1992).     The Amended Superseding Indictment also sufficiently

alleges a conspiracy among defendants by identifying the principal

coconspirators and the principal aims of the conspiracy.                See

United States v. Hallock, 941 F.2d 36, 40-41 (1st Cir. 1991).

      4.   The Renewed Motion of Defendants Vitale and DiMasi to

Dismiss All Honest Services Fraud Allegations (Docket No. 249)(the

"Renewed Motion to Dismiss"), as well as the request to dismiss

based on arguments made in a related memorandum (Docket No. 248),

are DENIED.    The Amended Superseding Indictment gives defendants

adequate notice that they are charged with a conspiracy to engage

in a quid pro quo bribery and kickback scheme, which remains a

viable theory of honest services fraud after the Supreme Court's

2010 decision in Skilling v. United States, 130 S. Ct. 2896, 2933


                                    3
     Case 1:09-cr-10166-MLW Document 294 Filed 02/04/11 Page 4 of 10



(2010).    Paragraphs 14 through 17 allege that the conspirators

agreed    to    arrange    payments       to    DiMasi         (through   P.A.,    an

intermediary) and to others in exchange for DiMasi's exercise of

his official powers.       See Urciuoli II, 613 F.3d at 14-15.                  These

allegations,     coupled     with   the       numerous    alleged      overt   acts,

adequately inform defendants of both the nature of the alleged

conspiracy and of the alleged underlying fraudulent conduct.                      Cf.

United States v. Yefsky, 994 F.2d 885, 893 (1st Cir. 1993).                       The

Amended Superseding Indictment also adequately alleges that Vitale

knowingly and willfully joined the conspiracy and is guilty of the

substantive offenses committed pursuant to it.                    See Pinkerton v.

United States, 328 U.S. 640, 646-48 (1946); United States v.

Agosto-Vega,     617   F.3d    541,   552       (1st     Cir.    2010)(aiding     and

abetting); United States v. Whiffen, 121 F.3d 18, 21-22 (1st Cir.

1997).    Other arguments made in the Renewed Motion to Dismiss are

moot in light of the amendments to the Superseding Indictment

allowed    in    paragraph     1    hereinabove          and     the   government's

representation that it is not pursuing a gratuities-based theory of

honest services fraud in this case.

     5.    Defendant Lally's Consolidated Post-Skilling Motion to

Dismiss (Docket No. 254) is DENIED.             Indictments must be read as a

whole, see Tomasetta, 429 F.2d at 979, and need not always plead

required scienter elements in precise statutory terms so long as

other words or facts contained in the indictment necessarily or


                                          4
     Case 1:09-cr-10166-MLW Document 294 Filed 02/04/11 Page 5 of 10



fairly import guilty knowledge. See United States v. McLennan, 672

F.2d 239, 242 (1st Cir. 1982).          Assuming the government was

required to allege that defendant Joseph Lally knew that money paid

to P.A. was   being transferred in part to DiMasi, it has done so

adequately.   The Amended Superseding Indictment explicitly alleges

Lally's knowing and willful participation in the conspiracy and in

the fraudulent scheme, alleges that Lally arranged for money to be

paid to DiMasi through P.A., and alleges various overt acts from

which such knowledge could be inferred.            See, e.g., Amended

Superseding Indictment ¶¶12, 14, 15, 18, 38, 46, 70, 102, 106.

     6. The Joint Supplemental Motion for Dismissal of Superseding

Indictment (Docket No. 244) is DENIED. Defendants essentially seek

to strike as surplusage the phrase "and cause others to receive"

from paragraph 14 of the Superseding Indictment.          However, this

phrase is not irrelevant, see Hedgepeth, 434 F.3d at 612, because

payments to others in exchange for official acts by a public

official can, at a minimum, constitute Hobbs Act extortion, an

object of the charged conspiracy.      See United States v. Green, 350

U.S. 415, 420 (1956); United States v. Vigil, 523 F.3d 1258, 1264

(10th Cir. 2008), cert. denied, 129 S. Ct. 281 (2008); United

States v. Margiotta, 688 F.2d 108, 133 (2d Cir. 1982), overruled on

other grounds by United States v. McNally, 483 U.S. 350 (1987);

United States v. Cerilli, 603 F.2d 415, 420 (3d Cir. 1979).            The

First Circuit's statement in United States v. Cruz-Arroyo that


                                   5
     Case 1:09-cr-10166-MLW Document 294 Filed 02/04/11 Page 6 of 10



extortion exists where the public official "received" a payment is

essentially a restatement of the holding of Evans, 504 U.S. at 268,

and not a new rule of law limiting extortion under color of

official right to cases in which the payment is received by the

public official, as opposed to being obtained for another person.

See Cruz-Arroyo, 461 F.3d 69, 73-74 (1st Cir. 2006).          Therefore,

although Cruz-Arroyo indicates that one way to prove extortion

under color of official right is to show that the official obtained

a payment for himself, the Supreme Court in Green held that §1951

is violated when proven extortion results in a payment to another

person, and this principle has been properly extended to extortion

under color of official right.         See Green, 350 U.S. at 420-21;

Vigil, 523 F.3d at 1264.

     7.   The Motion for Legal Instructions Provided to Grand Jury

and to Dismiss Indictment (Docket No. 143) is DENIED. Federal Rule

of Criminal Procedure 6(e)(3)(E) provides that "[t]he court may

authorize disclosure - at a time, in a manner, and subject to any

other conditions that it directs - of a grand-jury matter (i)

preliminarily to or in connection with a judicial proceeding; [or]

(ii) at the request of a defendant who shows that a ground may

exist to dismiss the indictment because of a matter that occurred

before the grand jury."     "Parties seeking grand jury transcripts

under Rule 6(e) must show that the material they seek is needed to

avoid a possible injustice in another judicial proceeding, that the


                                   6
     Case 1:09-cr-10166-MLW Document 294 Filed 02/04/11 Page 7 of 10



need for disclosure is greater than the need for continued secrecy,

and that their request is structured to cover only material so

needed."   Douglas Oil Co. of California v. Petrol Stops Northwest,

441 U.S. 211, 222 (1979).        Here, disclosure is not necessary to

avoid possible injustice because protection against the grand

jury's conceivable misunderstanding of the requirements of 18

U.S.C. §1346 is not accomplished by review of the prosecutor's

legal instructions.    See United States v. Lopez-Lopez, 282 F.3d 1,

9 (1st Cir. 2002).    Rather, the First Circuit requires substantial

particularity in the text of an indictment for conspiracy to commit

fraud, see Yefsky, 994 F.2d at 893, with which at least 12 grand

jurors must concur.    See Fed. R. Crim. P. 6(f); Gaither v. United

States, 413 F.2d 1061, 1071 (D.C. Cir. 1969).          Because the Amended

Superseding Indictment is facially adequate and demonstrates that

the grand jury found probable cause to believe defendants conspired

to engage in a quid pro quo bribery and kickback scheme, which has

long been, and remains, a valid theory of honest services fraud,

any lack of instructions or mistakes in instructions to the grand

jury would not be sufficiently prejudicial to justify relief.           See

In re United States, 441 F.3d 44, 60 (1st Cir. 2006)(defining the

"high" standard of prejudice to justify pretrial dismissal of

indictment   based    on   errors   in   the   grand   jury   proceeding).

Protecting   the   rights   of   defendants    through    review   of   the

sufficiency of the face of the indictment is consistent with the


                                     7
        Case 1:09-cr-10166-MLW Document 294 Filed 02/04/11 Page 8 of 10



legal        maxim   that   "'[a]n   indictment   returned   by   a   legally

constituted and unbiased grand jury, . . . if valid on its face, is

enough to call for trial of the charge on the merits.'" See United

States v. Maceo, 873 F.2d 1, 3 (1st Cir. 1989)(quoting Costello v.

United States, 350 U.S. 359, 363 (1956))(emphasis added); see also

United States v. Buchanan, 787 F.2d 477, 487 (10th Cir. 1986);

United States v. Trie, 23 F. Supp. 2d 55, 62 (D.D.C. 1998).

        8.     Defendant Vitale's Motion for a Bill of Particulars

(Docket No. 247) is ALLOWED in part.              By February 4, 2011, the

government shall file under seal and produce to defendants, subject

to the terms of the protective order concerning discovery in this

case, the names of the "others" referred to in paragraph 14 of the

Amended Superseding Indictment to whom DiMasi allegedly caused

payments to be made.

        In all other respects, this motion is DENIED.        The court must

grant a motion for a bill of particulars "only if the accused, in

the absence of a more detailed specification, will be disabled from

preparing a defense, caught by unfair surprise at trial, or

hampered in seeking the shelter of the Double Jeopardy Clause."

United States v. Sepulveda, 15 F.3d 1161, 1192-93 (1st Cir. 1993);

see Fed. R. Crim. P. 7(f).           Here, Vitale seeks primarily details

that the government is not required to prove at trial, such as the

exact date and location of the conspiratorial agreement. The First

Circuit, however, "do[es] not require evidence of an explicit


                                        8
     Case 1:09-cr-10166-MLW Document 294 Filed 02/04/11 Page 9 of 10



agreement to ground a conspiracy conviction."               United States v.

Pesaturo, 476 F.3d 60, 72 (1st Cir. 2007). "The agreement need not

be express, but may consist of no more than a tacit understanding,"

and a conspiratorial agreement may be proven by circumstantial

evidence, including acts committed by a defendant that furthered

the conspiracy's purposes.         United States v. Perez-Gonzalez, 445

F.3d 39, 49 (1st Cir. 2006).              Specific information about the

formation of a conspiracy is often unavailable due to the secret

nature    of   the   enterprise.    Cf.    Hallock,   941    F.2d   at   40-41.

Consequently, because the government is not required to prove the

details requested by Vitale, the court is not exercising its

discretion to order the Bill of Particulars, except with respect to

the identities of the "others" to whom DiMasi allegedly caused

payments to be made.       See United States v. Stryker Biotech, LLC,

Cr. No. 09-10330, 2010 WL 2900684, at *5 (D. Mass. July 21, 2010).

     9.    The additional pre-Skilling Motions to Dismiss (Docket

Nos. 126, 134, 140, 141, 147) are DENIED.             These motions raise

essentially the same arguments as the motions addressed hereinabove

and are denied for the same reasons.

     10.       When the parties submit proposed jury instructions as

required by the December 13, 2010 Pretrial Order, they shall in a

trial brief or separate memorandum address any foreseeable disputes

concerning issues of law and, in any event, address the difference

between a gratuities theory of honest services fraud (which the


                                      9
     Case 1:09-cr-10166-MLW Document 294 Filed 02/04/11 Page 10 of 10



government has represented is not now alleged in the Amended

Superseding Indictment) and a quid pro quo bribery and kickback

scheme.

     11.    The schedule established by the December 13, 2010

Pretrial Order remains in effect.       The parties may, if necessary,

request extensions of time with respect to lower priority matters,

such as proposed jury questionnaires and voir dire questions, if,

despite diligent efforts, they are unable to make all of the

required submissions in a timely manner.

     12.   Hearings on pretrial motions and other matters will

commence on April 13, 2011, at 9:00 a.m., and, if necessary,

continue day to day until April 25, 2011.         This schedule may be

modified at the March 9, 2011 pretrial conference.




                                               /s/ Mark L. Wolf
                                         UNITED STATES DISTRICT JUDGE




                                   10
